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IN THE UNITED STATES DISTRICT COURF |,

FOR THE DISTRICT OF PUERTO RICO

 

SHARON LEE SANCHEZ
BARRETO on her own behalf and in
representation of minor daughter
AMY NATALIA VAZQUEZ
SANCHEZ; VON MARIE VIDAL
RYAN on her own behalf and in
representation of minor daughter
KAOVY MARIE VIDAL RYAN;
LUCRE AMALIA SALGADO
DOMINGUEZ; YALIEL
VAZQUEZ SALGADO.

Plaintiffs

Vs.

KARL AMALIA & SONS INC;
INTEGRAND ASSURANCE CO;
ACE INSURANCE CoO,

Defendants

 

og NO 146 Pa
Civil No. 04-2373; ae)

Plaintiff Demands Trial by. Fury

COMPLAINT

TO THE HONORABLE COURT:

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COME NOW the Plaintiffs, through the undersigned attorney, and very

respectfully state, allege and pray:

1. This Honorable Court has jurisdiction over the defendant INTEGRAND

ASSURANCE COMPANY, over the defendant KARL AMALIA &

SONS, Inc. pursuant to 28 USC secc. 1332 and over the defendant ACE

Insurance Company over state law claims under Articles 1802 of the
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Civil Code of Puerto Rico, section 5141 et seq. of Title 31 of the Laws
of the Puerto Rico Annotated, in that complete diversity of citizenship
exists between the plaintiffs and the defendants herein and the amount in
controversy for each plaintiff exceeds the sum of $75,000 exclusive of
interests and costs.
IDENTIFICATION OF DEFENDANTS

2. At all times herein material, the defendant KARL AMALIA & SONS,
Inc is believed to be a corporation with its principal place of business in
Guaynabo, Puerto Rico. The defendant KARL AMALIA & SONS is the
owner of the vehicle BMW 2002 Model X5 license plate P.R. EQW-778
that was involved in an automobile accident where four young men died.

3. At all times herein material, the defendant INTEGRAND ASSURANCE
COMPANY is believed to have issued an insurance policy over the
vehicle BMW 2002 Model X5 license plate P.R. EQW-778 whose
owner is the defendant Karl Amalia & Sons, Inc.

4. At all times herein material, the defendant ACE INSURANCE
COMPANY is believed to have issued an insurance policy which covers

the vehicle BMW 2002 Model XS license plate P.R. EQW-778 in excess
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of the insurance issued by the defendant INTEGRAND ASSURANCE

INC and whose owner is the defendant KARL AMALIA & SONS, INC.

PARALELL COMPLAINT

5. A wrongful death claim due to this same accident was filed in this federal
court. It is Civil No. 04-1399 and it is in Honorable Judge Héctor
Laffite’s chambers.

IDENTIFICATION OF PLAINTIFFS

6. Plaintiff SHARON LEE SANCHEZ BARRETO and plaintiff AMY
NATALIA VAZQUEZ SANCHEZ are citizens of the state of Florida for
purposes of the diversity of citizenship jurisdiction under the applicable
statutes. Plaintiff AMY NATALIA VAZQUEZ SANCHEZ is the
daughter of Yamil Andrés Vazquez Salgado who died in a car accident
on the 16" of February 2004.

7. Plaintiff VON MARIE RYAN BERRIOS and plaintiff KAOVY MARIE
VIDAL RYAN are citizens of the state of New Jersey for purposes of the
diversity of citizenship jurisdiction under the applicable statutes. Plaintiff

VON MARIE RYAN BERRIOS was the common law wife of decedent

Giancarlo Vidal Cotto who died in a car accident on the 16" day of
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February 2004. Plaintiff KAOVY MARIE VIDAL RYAN is the
daughter of the decedent Giancarlo Vidal Cotto.
. Plaintiff LUCRE AMALIA SALGADO DOMIONGUEZ and plaintiff
YALIEL VAZQUEZ SALGADO are citizens of the state of Florida for
purposes of the diversity of citizenship statutes. Plaintiff LUCRE
AMALIA SALGADO DOMIONGUEZ is the mother of the of decedent
Yamil Vazquez Salgado. Plaintiff YALIEL VAZQUEZ SALGADO is
the brother of the decedent Yamil Vazquez Salgado.

OCURRENCES AND LIABILITY
. On the 16" of February of 2004 Yamil Andrés Vazquez Salgado and
Giancarlo Vidal Cotto died as a result of the traumas they sustained in a
motor vehicle accident.
10.On the 16" of February of 2004 Karl Amalia Hunsberg was driving the
BMW 2002 previously identified, at about 2:00 am. The owner of the

BMW is the defendant KARL AMALIA & SONS INC.

11.Mr. Karl Amalia Hunsberg did not stop in a red traffic light. He then

took a left turn and invaded the lane whose traffic was in the opposite

direction.
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12.Mr. Amalia Hunsberg invaded said lane despite the fact that another car,
a Mitsubishi, was approaching the intersection and had the right of way.

13.The negligent maneuver of Mr. Amalia Hunsberg was so sudden that it
took the driver of the Mitsubishi completely by surprise.

14.A huge collision resulted due to the sudden invasion of the lane by Mr.
Amalia Hunsberg.

15.Mr. Yamil Andrés Vazquez Salgado and Mr. Giancarlo Vidal Cotto were
passengers in the Mitsubishi. They suffered severe traumas which
caused their untimely death. It is believed that neither of these two
individuals died immediately. Eduardo Rodriguez Cains, a passenger in
the car, as well as the driver of the Mitsubishi also died in the crash.

16. Mr. Karl Amalia Hunsberg was the sole responsible for the occurrence
of the accident because he invaded the incoming lane without any regard
for the lives of the people that occupied the incoming vehicle, that is the
Mitsubishi.

17.Mr. Yamil Andrés Vazquez Salgado and Mr. Giancarlo Vidal Cotto were
passengers in the Mitsubishi. Because they were both mere passengers,
they had no responsibility for the occurrence of the accident.

Accordingly, their actions did not contributed to their death.
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18.The defendant KARL AMALIA & SONS INC is directly responsible for
the payment of any monetary award issued by a jury because said
corporation is the owner of the BMW involved in the accident which is
the subject of this complaint.

19.The defendant INTEGRAND ASSURANCE INC. is responsible for the
payment of any monetary award issued by a jury in this case, since it
issued an insurance policy for damages regarding the BMW being the
name insured Karl Amalia & Sons Inc. It is believed that said insurance
covers up to $500,000 in damages.

20.The defendant ACE INSURANCE CO. is responsible for the payment of
any monetary award issued by a jury in this case in excess of the policy
issued by the defendant INTEGRAND ASSURANCE INC. It is
believed that the insurance issued by by the defendant ACE
INSURANCE CO. covers damages in excess of $500,000 and up to
$5,000,000.

21.The damages suffered by the plaintiffs were caused solely by the
negligence of Mr. Karl Amalia Hunsberg, the driver of the BMW.

DAMAGES
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22.As a direct result of this unnecessary accident, the plainuff SHARON
LEE SANCHEZ BARRETO has suffered emotional damages which are
estimated in the amount of $500,000. Due to the lost revenues from her
ex-husband, the plaintiff SHARON LEE SANCHEZ BARRETO, who
depended economically on Yamil Vazquez Salgado has and will incur
economic losses estimated at $250,000.

23. As a direct result of this unnecessary accident, the plaintiff AMY
NATALIA VAZQUEZ SANCHEZ has suffered emotional damages
which are estimated in the amount of $1,000,000. Due to the lost
revenues from her father, the plaintiff AMY NATALIA VAZQUEZ
SANCHEZ, who depended economically on her father Yamil Vazquez
Salgado has and will incur economic losses estimated at $250,000.

24.As a direct result of this unnecessary accident, the plaintiff VON
MARIE RYAN BERRIOS has suffered emotional damages which are
estimated in the amount of $1,000,000. Due to the lost revenues from her
husband, the plaintiff VON MARIE RYAN BERRIOS, who depended

economically on Giancarlo Vidal Cotto has and will incur economic

losses estimated at $250,000.
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25.As a direct result of this unnecessary accident, the plaintiff KAOVY
MARIE VIDAY RYAN has suffered emotional damages which are
estimated in the amount of $1,000,000. Due to the lost revenues from her
father, the plaintiff KAOVY MARIE VIDAL RYAN , who depended
economically on her father Giancarlo has and will incur economic losses
estimated at $250,000.

26.As a direct result of this unnecessary accident, the plaintiff LUCRE
AMALIA SALGADO DOMINGUEZ (mother of decedent Yamil
Vazquez Salgado) has suffered emotional damages which are estimated
in the amount of $750,000.

27. As a direct result of this unnecessary accident, the plaintiff YALIEL
VAZQUEZ SALGADO (brother of decedent Yamil Vazquez Salgado)
has suffered emotional damages which are estimated in the amount of
$250,000.

28.Giancarlo Vidal Cotto did not died immediately. His sufferings while he
died, estimated at $500,000 are hereby being claimed by the plaintiff

VON MARIE RYAN BERRIOS and by the plaintiff KAOVY MARIE

VIDAL RYAN.
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29.Yamil Vazquez Salgado did not died immediately. His sufferings while
he died, estimated at $500,000, are hereby being claimed by the plaintiff
SHARON LEE SANCHEZ BARRETO and plaintiff AMY NATALIA
VAZQUEZ SANCHEZ.
PRAYER
WHEREFORE, in view of the foregoing, the plaintiffs respectfully request
that judgment be entered in against defendants in the amount of $6,500,000
plus costs, expenses and a reasonable amount of attorney’s fees.

In San Juan, Puerto Rico, this 1S day of November of 2004.

S/JORGE M. IZQUIERDO SAN MIGUEL
USDC NO, 209312

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